Case 9:22-cr-80173-AMC Document 102 Entered on FLSD Docket 05/01/2023 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-80173-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  WILLIAM MICHAEL SPEARMAN,

        Defendant.
  _________________________________/

                 ORDER GRANTING GOVERNMENT’S MOTION TO SEAL

         THIS CAUSE comes before the Court upon the Government’s Motion to Seal Response

  to Motion to Suppress and Three Exhibits [ECF No. 98]. Being fully advised, it is

         ORDERED AND ADJUDGED as follows:

         1. The Government’s Motion [ECF No. 98] is GRANTED.

         2. The Government’s Response in Opposition to Defendant Spearman’s Motion to

             Suppress and Three Exhibits shall remain permanently under seal or until further order

             of the Court.

         3. This Order shall not be filed under seal.

         DONE AND ORDERED in Chambers in Fort Pierce, Florida, this 1st day of May 2023.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
